         Case 20-12719-amc                     Doc       Filed 11/25/20 Entered 11/25/20 08:23:23                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 3
 Debtor 1              Debra Davie
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern      District
                                                 District      of __________
                                                          of Pennsylvania

 Case number            20-12719             AMC
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   PNC Bank, N.A.
 Name of creditor: _______________________________________                                                        8
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          _0522
                                                            _ _ 2 _ __     ____      Must be at least 21 days after date        12/20/2020
                                                                                                                                _____________
                                                                                     of this notice


                                                                                     New total payment:                                 146.95
                                                                                                                                $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      ✔ No
      
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                       New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
          No
      ✔
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
                                       Daily Simple Interest Accrual for Billing Period
                   Reason for change: ___________________________________________________________________________________

                                                       143.99
                   Current mortgage payment: $ _______________                                                     146.95
                                                                                   New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                           page 1
          Case 20-12719-amc                         Doc           Filed 11/25/20 Entered 11/25/20 08:23:23                           Desc Main
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Debtor 1         Debra  Davie
                 _______________________________________________________                                              20-12719
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     ✔
          I am the creditor.

          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8 V Inessa Polinkovsky
     _____________________________________________________________
     Signature
                                                                                               Date    11/25/2020
                                                                                                       ___________________




 Print:             Inessa Polinkovsky
                    _________________________________________________________                  Title   Bankruptcy   Specialist
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            PNC Bank, N.A.
                    _________________________________________________________



 Address            PO Box 94982
                    _________________________________________________________
                    Number                 Street

                    Cleveland                        OH      44101
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      855-245-3814
                    ________________________                                                          bankruptcy@pnc.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
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                                 Document      Page 3 of 3



                             UNITED STATES BANKRUPTCY COURT
                               Eastern District of Pennsylvania

 IN RE: Debra Davie                              Case No. 20‐12719
                                                 Judge    Ashely M. Chan
                                                 Chapter 13



                                 CERTIFICATE OF SERVICE OF
                             Notice of Mortgage Payment Change

       I, the undersigned, hereby certify that, on November 25, 2020 a true and correct copy of
the Notice of Mortgage Payment Change was electronically served upon the following using the
Court’s CM/ECF system:

Debtor’s Attorney: JOHN L. MCCLAIN
Trustee:           SCOTT F. WATERMAN (Chapter 13)
Office of the United States Trustee

       Further, I certify that, on November 25, 2020 a true and correct copy of the Notice of
Mortgage Payment Change was forwarded via U.S. Mail, first class postage prepaid and
properly addressed, to the following at the address shown below:


Debra Davie                                         220 Willow Rd
                                                    Wallingford, PA 19086



                                                           By: /s/ Inessa Polinkovsky
                                                           Inessa Polinkovsky
                                                           PNC Bank, N.A.
                                                           PO Box 94982
                                                           Cleveland OH 44101
                                                           855‐245‐3814
